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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    In re:                                                  §       Chapter 11
                                                            §
    STUDIO MOVIE GRILL HOLDINGS,                            §       Case No. 20-32633-11
    LLC, et al.,1                                           §
                                                            §        (Joint Administration Requested)
                    Debtors.                                §

         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE AND PAPERS

             PLEASE TAKE NOTICE that Akerman LLP, by and through the undersigned, hereby

makes an appearance on behalf of 5500 South Freeway, LLC (“South Freeway”), landlord and

creditor-in-interest in the above-captioned case, and files this Notice of Appearance pursuant to

section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9010(b)

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and requests copies of

all notices, pleadings, orders, and other papers served or required to be served in this case, pursuant



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  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Studio Movie Grill Holdings, LLC (6546) (“SMG Holdings”); OHAM Holdings, LLC (0966);
Movie Grill Concepts Trademark Holdings, LLC (3096); Movie Grill Concepts I, Ltd. (6645); Movie Grill Concepts
III, Ltd. (2793); Movie Grill Concepts IV, Ltd. (1454); Movie Grill Concepts IX, LLC (3736); Movie Grill Concepts
VI, Ltd. (6895); Movie Grill Concepts VII, LLC (2291); Movie Grill Concepts X, LLC (6906); Movie Grill Concepts
XI, LLC (2837); Movie Grill Concepts XII, LLC (6040); Movie Grill Concepts XIII, LLC (5299); Movie Grill
Concepts XIV, LLC (4709); Movie Grill Concepts XIX, LLC (9646); Movie Grill Concepts XL, LLC (4454); Movie
Grill Concepts XLI, LLC (4624); Movie Grill Concepts XLII, LLC (2309); Movie Grill Concepts XLIII, LLC (9721);
Movie Grill Concepts XLIV, LLC (8783); Movie Grill Concepts XLV, LLC (2570); Movie Grill Concepts XV, LLC
(4939); Movie Grill Concepts XVI, LLC (1033); Movie Grill Concepts XVII, LLC (1733); Movie Grill Concepts
XVIII, LLC (8322); Movie Grill Concepts XX, LLC (7300); Movie Grill Concepts XXI, LLC (1508); Movie Grill
Concepts XXII, LLC (6748); Movie Grill Concepts XXIV, LLC (5114); Movie Grill Concepts XXIX, LLC (5857);
Movie Grill Concepts XXV, LLC (4985); Movie Grill Concepts XXVI, LLC (5233); Movie Grill Concepts XXVII,
LLC (4427); Movie Grill Concepts XXVIII, LLC (1554); Movie Grill Concepts XXX, LLC (1431); Movie Grill
Concepts XXXI, LLC (3223); Movie Grill Concepts XXXII, LLC (0196); Movie Grill Concepts XXXIII, LLC (1505);
Movie Grill Concepts XXXIV, LLC (9770); Movie Grill Concepts XXXIX, LLC (3605); Movie Grill Concepts
XXXV, LLC (0571); Movie Grill Concepts XXXVI, LLC (6927); Movie Grill Concepts XXXVII, LLC (6401); Movie
Grill Concepts XXXVIII, LLC (9657); Movie Grill Concepts XXIII, LLC (7893); Studio Club, LLC (3023); Studio
Club IV, LLC (9440); Movie Grill Concepts XI, LLC (2837); Movie Grill Concepts XLI, LLC (4624); Movie Grill
Concepts XLVI, LLC (2344); Movie Grill Concepts XLVII, LLC (5866); Movie Grill Concepts XLVIII, LLC (8601);
Movie Grill Concepts XLIX, LLC (0537); Movie Grill Concepts L, LLC (5940); Movie Grill Concepts LI, LLC
(7754); Movie Grill Concepts LII, LLC (8624); Movie Grill Concepts LIII, LLC (3066); Movie Grill Concepts LIV,
LLC (2018); Movie Grill Concepts LV, LLC (4699); Movie Grill Partners 3, LLC (4200); Movie Grill Partners 4,
LLC (1363); Movie Grill Partners 6, LLC (3334); and MGC Management I, LLC (3224).


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to Bankruptcy Rules 2002, 3017(a), 9007, and 9010. All such notices should be addressed as

follows:

                               AKERMAN LLP
                               David Parham
                               2001 Ross Avenue, Suite 3600
                               Dallas, TX 75201
                               Telephone: (214) 720-4300
                               Facsimile: (214) 981-9339
                               david.parham@akerman.com

                               and

                               AKERMAN LLP
                               Katherine C. Fackler
                               50 North Laura Street, Suite 3100
                               Jacksonville, FL 32202
                               Telephone: (904) 798-3700
                               Facsimile: (904) 798-3730
                               katherine.fackler@akerman.com

         PLEASE TAKE FURTHER NOTICE that this request includes, without limitation,

motions, applications, complaints, demands, notices of motions, notices of applications, notices of

hearings, petitions, objections, answers, responses, replies, claims, schedules, statements, reports,

and all other pleadings, requests or notices, whether formal or informal, whether written or oral,

and whether transmitted or conveyed by mail, other commercial carrier, hand delivery, facsimile,

telegraph, telex, e-mail, telephone or otherwise.

         PLEASE TAKE FURTHER NOTICE that the request is also made that the attorneys

identified herein be added to the official service list for notice of all contested matters, adversary

proceedings, and other proceedings in the above-captioned cases.

         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

subsequent appearance, pleading, claim, or suit is intended or shall be deemed to waive South

Freeway’s (i) right to have final orders in non-core matters entered only after de novo review by a


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higher court; (ii) right to trial by jury in any proceeding so triable in any case, controversy, or

adversary proceeding; (iii) right to have the reference withdrawn in any matter subject to

mandatory or discretionary withdrawal; or (iv) other rights, claims, actions, defenses, setoffs, or

recoupments to which South Freeway is or may be entitled under agreements, in law, or in equity,

all of which rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved.

Dated: October 27, 2020                          Respectfully submitted,

                                                  /s/ David Parham
                                                 David Parham, SBN: 15459500
                                                 AKERMAN LLP
                                                 2001 Ross Avenue, Suite 3600
                                                 Dallas, Texas 75201
                                                 Telephone: (214) 720-4300
                                                 Facsimile: (214) 981-9339
                                                 david.parham@akerman.com

                                                 and

                                                 Katherine C. Fackler (pro hac vice pending)
                                                 Florida Bar No. 68549
                                                 50 North Laura Street, Suite 3100
                                                 Jacksonville, FL 32202
                                                 Telephone: (904) 798-3700
                                                 Facsimile: (904) 798-3730
                                                 katherine.fackler@akerman.com

                                                 Counsel for 5500 South Freeway, LLC


                                CERTIFICATE OF SERVICE

I hereby certify that on October 27, 2020 a true and correct copy of the foregoing has been served
by electronic mail via the Court's ECF system to all parties authorized to receive electronic notice
in this case.

                                              /s/ David Parham
                                              David Parham




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